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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

 TONYA GRAHAM


                Plaintiff,                          Civil Action No. _______________________

        v.

                                                    PLAINTIFF TONYA GRAHAM’S
 U.S. DEPARTMENT OF JUSTICE
                                                    COMPLAINT
 (Drug Enforcement Administration)

 and

 MERRICK GARLAND
 In his official capacity as Attorney General,
 U.S. Department of Justice

 950 Pennsylvania Avenue, NW
 Washington, DC 20530

                Defendants.


                                          COMPLAINT

        Plaintiff, Dr. Tonya Graham, (“Plaintiff” or “Graham”) by and through her undersigned

counsel, according to her personal knowledge of her actions and interactions and upon information

and belief as to the actions of others, hereby files this Complaint and alleges and states as follows:

                                  NATURE OF THE ACTION

        1.       Since February 2003, and to the present date, Plaintiff Tonya Graham has been

employed with the Department of Justice (“DOJ” or “Defendant”) as a part of the Drug

Enforcement Administration (“DEA”), in the Houston Division Office (“HDO”). Up until

recently and following her initiation of the EEO complaint process, Plaintiff held the position of

Senior Special Agent as a part of the DEA’s Tactical Diversion Squad (“TDS”).

        2.       Plaintiff is an African American female. In February 2003, when Plaintiff first
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started her employment at DOJ, there was only one African American female special agent in a

leadership role. During her tenure at the DOJ, there has been only one other African American

female special agent in a leadership role at the HDO.

       3.       Plaintiff has worked hard to become the next African American female special

agent in a leadership role at the HDO; however, Plaintiff has faced continued acts of

discrimination and retaliation by white, male officials holding management positions.

       4.       Since on or around April 2020, Plaintiff has been subjected to harassment and

intimidation from supervisors and managing officials at the DEA. This has been in the form of

disparaging and abusive comments including those pertaining to “racial issues,” false accusations

that Plaintiff spoke negatively about the DEA to other DOJ personnel, non-selection for

promotion within the DEA, demotion, and lowered performance evaluation.

       5.       As a result, on or about November 24, 2020, Plaintiff filed a complaint against

the DEA for discrimination on the basis of race and sex.

       6.       By January 2021, Plaintiff had been sidelined by the DEA to a desk job,

preventing her from continuing her work on combatting the opioid crisis.

       7.       Sadly, Plaintiff’s mistreatment is not an isolated incident for the DEA, as

evidenced by the mistreatment experienced by other African American special agents in the same

division of the DEA, as well as other minorities, who complained of violation of federal laws,

including EEO laws. These complaints are ongoing through various stages of the EEO process.

                                JURISDICTION AND VENUE

       8.       This Court has jurisdiction over this action under Title VII of the Civil Rights

Act of 1964, as amended, 42 U.S.C. §§ 2000e-5(f) and 2000e-16(c). Jurisdiction is appropriate

against the Department of Justice, and its component agency the DEA, pursuant to Title VII of



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the Civil Rights Act of 1964, 42 U.S.C. § 2000c.

       9.       Additionally, the case arises out of the actions of a federal agency as defendant

and therefore jurisdiction is proper pursuant to 28 U.S.C. § 1346.

       10.      Venue is proper in this judicial district under 28 U.S.C. §1391, as the component

agency, the DEA HDO, of the federal defendant, DOJ, is located in this district, and the majority

of the acts complained of under the various statutes occurred in Houston, Texas. 42 U.S.C. §

2000e-5(f)(3); 28 U.S.C.§ 1391(b).

                                            PARTIES

       11.     Plaintiff, Tonya Graham, is a Special Agent (GS-13) with the DEA and resides in

Houston, Texas.

       12.      Defendant, U.S. Department of Justice (“DOJ”) is a federal Agency who, under

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000c, is the properly named party for

claims arising under the Act, since the DEA is a component of the DOJ.

       13.      Defendant Merrick Garland is the Attorney General of the United States and the

head of the DOJ. He is therefore the proper party to be named and served on Plaintiff’s various

EEO complaints. AG Merrick Garland is a nominal party only and is not believed to have any

personal knowledge of the events at issue. The actual discriminatory actors in this case are all

employees of the DEA, described herein, which is a component of the DOJ.

Procedural History and Exhaustion of Administrative Remedies

       14.      After Plaintiff was informed of her non-selection for various promotional

opportunities and positions, as described more fully below, she took the following steps to assert

and defend her rights.

       15.      On or about September 10, 2020, Plaintiff made initial contact with the DEA



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EEO Office to report her claims of discrimination, based on race and sex as well as retaliation

and reprisal for protected activity, due to her non-selection to the Criminal Investigator, Group

Supervisor Position (CMB 20-218-2), as well as for other GS-14 positions to which she applied

between 2017 and 2020.

        16.      On November 24, 2020, Plaintiff timely filed a Complaint of Discrimination with

the U.S. Equal Employment Opportunity Commission, Houston District Office.

        17.      Believing she was more qualified than other applicants and that she was not

adequately considered for the vacancy opening because she was an African-American female,

Plaintiff brought a claim of race and sex discrimination.

        18.      Based on discovery related orders issued by the Administrative Judge in the

EEOC proceedings, and related statements made by the Administrative Judge during the

proceedings, Plaintiff believes that she will not be afforded an equal and fair opportunity to bring

her claims of discrimination. Plaintiff participated in the administrative EEO process in good

faith. Pursuant to 42 U.S.C. §2000e-16(c), it has been more than “…one hundred and eighty [180]

days from the filing of the initial charge of discrimination with the department, agency or unit…”

and therefore this Plaintiff eligible to file a civil action in federal district court. See also 29 CFR

§ 1614.407(b).

        19.      Accordingly, Plaintiff has exhausted her administrative remedies, and this claim

is now ripe to be considered by this Court.

                                               FACTS

Plaintiff’s Unblemished Employment History and Exemplary Career as a DEA Special Agent
Rendered Her Highly Qualified for a Promotion to a Leadership Position

        20.      Plaintiff has a Doctorate in Business Administration, a Master of Arts Degree in

Organizational Management, is a former United States Secret Service Uniformed Division


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Officer, and a veteran of the United States Army.

       21.      From 2014 to 2020, Plaintiff worked in, and was an integral part of, the DEA

TDS’s investigation of the diversion of pharmaceutical drugs onto the illegal drug market in the

Houston area supporting DOJ efforts to fight the opioid epidemic.           Plaintiff was largely

responsible for an unprecedented number of arrests of doctors, pharmacists and other involved in

the illegal trafficking of pharmaceutical opioids.

       22.      As a result of her hard work towards combatting the opioid crisis, in November

2019, Plaintiff received awards from DOJ for her outstanding accomplishments and leadership

in fighting the opioid epidemic. The awards included the Leadership Award and Investigative

Initiative Award by the DOJ Criminal Division, Health Care Fraud Unit, as well as bonus awards

in the form of a Quality Step Increase.

       23.      Prior to 2020, Plaintiff had no disciplinary action taken against her prior and has

received “outstanding” performance ratings.

       24.      During her employment, Plaintiff has met all standards for promotion.

DEA Houston’s Culture and Pattern of Promoting White Males Over Qualified Minorities

       25.      The DEA has a pattern of promoting predominantly White male special agents

over minority special agents that can only be explained by “personal preferences.”

       26.      Prior to August 2020, no African American male or African American female

special agent had been promoted in the Houston Division Office in nearly 10 years.

       27.      Overall, the DEA epitomizes a systematic culture of bias and discrimination,

particularly in their exclusion of African American female special agents from serious

consideration in the DEA’s selection process for the special agent promotional program. Instead,

the DEA exhibits a subjective decision-making process motivated by the stereotypical attitudes



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and gender bias of the White male officials making recommendations. Thus, sex and race-based

stereotypes believed and reinforced by DEA selection officials have prevented highly qualified

female and African American agents from being promoted to senior positions. This is consistent

with, and reflected in, the DEA’s historical and statistical disparities in its promotion selections

favoring white male agents.

Plaintiff Engages in Protected Activity by Acting as a Witness to Sexual Harassment

       28.         LaChanda Sears (“Sears”) is an African American female Special Agent also

worked in the DEA’s Tactical Diversion Squad along with Plaintiff.

       29.         On or around January 2019, while at the DEA office in the TDS group area, Sears

experienced unwanted and inappropriate touching from FBI task force agent, Bruce Alpe, on

Sears’ buttocks area. Sears is an African American female Special Agent also working in the

DEA’s Tactical Diversion Squad.

       30.         Plaintiff had been participating on a conference call with Sears at the time that

Alpe inappropriately touched her and witnessed Sears’ reaction to the events. In addition, Sears

subsequently confided in Plaintiff about the details of these events, which Plaintiff encouraged

Sears to report.

       31.         On or about March 20, 2019, Sears reported the incident and other related

incidents to the DEA’s EEO office. As a part of her reporting, Sears listed Plaintiff as a witness

to the events. Subsequently, Plaintiff participated in numerous meetings and interviews relating

to the incident and Sears’ EEO claims of sexual harassment. Plaintiff supported Sears’ claims of

sexual harassment based on her good faith and honest recollection of the events she had

witnessed.

       32.         Plaintiff additionally made attempts to support Sears and allay her fear of



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continued sexual harassment by volunteering to accompany her to meetings with male officials.

On at least one occasion, Plaintiff was prohibited from participation.

Discriminatory Behavior by Senior Officials at the DEA HDO

       33.      Since on or around April 2020, Plaintiff has been subjected to harassment and

intimidation from supervisors and managing officials at the DEA. This has been in the form of

disparaging comments, verbal abuse, refusal to provide support in a leadership role, comments

and instructions pertaining to “racial issues,” and false accusations that Plaintiff has spoken

negatively about the DEA to other DOJ personnel.

       34.      Plaintiff worked under multiple supervisors in her time in TDS. During the 2017-

2020 most notably, ASAC Lee Nash (White male), ASAC Stephen Jenkins (White male), and

ASAC William Kimbell (White male) continuously disregarded Plaintiff's work ethic, awards,

and accomplishments.

       35.      Specifically, while working under ASAC Kimbell’s supervision, Plaintiff has felt

intimidated, unwelcomed, and threatened. The actions by ASAC Kimbell towards Plaintiff have

lowered her self-esteem and made her feel unqualified.

       36.      On or about August 20, 2020, Plaintiff learned that she had not been selected for

the position of Criminal Investigator, Group Supervisor, which was a leadership role at the GS-

14 level. This was despite having about 18 years of experience as an 1811 series criminal

investigator, receiving a Quality Step Increase, and winning awards for her performance. She has

also served as Acting Group Supervisor, demonstrating her ability to perform in that role.

       37.      Despite having applied on approximately seven different occasions to vacancy

announcements for promotion to GS-14, Plaintiff has never been selected for these positions.

       38.      On or about October 1, 2020, Plaintiff was removed from her role as Acting



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Group Supervisor.

       39.      On or about November 4, 2020, Plaintiff received a lowered performance

evaluation.

Plaintiff Engages in a Second Set of Protected Activity by Filing an EEO Complaint

       40.      On or about November 24, 2020, Plaintiff filed a complaint against the DEA for

discrimination on the basis of race and sex.

       41.      At or around that same time, Sears filed an EEO complaint for sexual harassment.

Continued Acts of Discrimination and Acts of Retaliation

       42.      On or about December 20, 2020, DEA Group Supervisors subjected Plaintiff to

discriminatory treatment in the form of referring to Plaintiff and another African American

Special Agent as “gals” rather than by title, excluding Plaintiff from case discussions, and seeking

guidance from other TDS personnel but not from Plaintiff. These insults and exclusion were

intentional.

       43.      On or about January 12, 2021, Plaintiff was notified that she was being moved

from TDS and the Nationwide Distributor Initiative to the Tech group, due to “lack of

productivity” and “lack of progression,” despite her role as affiant in an ongoing investigation

under Title III at that time. She was further directed to have no further contact with DOJ

prosecutors or confidential sources in connection with TDS.

       44.      On or about March 16, 2021, Plaintiff’s work phone was confiscated.

       45.      Since having her phone confiscated, Plaintiff has experienced difficulty in

performing her job duties effectively as she is required to use her personal phone and search for

information that would be readily available if she had access to the confiscated phone.

       46.      During October 2021, Plaintiff had applied for two additional job vacancies at



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the HDO. In connection with these applications, Plaintiff was not afforded the same opportunities

as her other counterparts who applied, denying her a fair and equitable chance at promotion.

        47.      On or about November 12, 2021, Plaintiff discovered that she was the subject of

an OPR investigation. Plaintiff thereafter learned that SAC Whipple, was one of the subjects of

Plaintiff’s EEO complaint, and provided the grounds to open the OPR investigation.

        48.      Based on the above incidents and occurrences, on or about December 15, 2021,

Plaintiff notified the DEA that she was amending her EEO complaint to include additional

retaliatory acts against her.

        49.      Plaintiff has suffered damages and consistently faces fear of continued

discrimination without any protection or recourse. As a result, Plaintiff continues to endure

discrimination, retaliation and a hostile work environment, including public ridicule, character

assassination, demotion to a non-enforcement group closed off from her peers, and assignment

to a schedule that does not accommodate the challenges of a single-parent.

        50.      As a result of her initiation of the EEO complaint process, Plaintiff has faced and

continues to face acts of retaliation, including non-selection for promotion and the initiation of a

baseless OPR investigation, carried out on the part of white, male managing officials in the HDO.

                                      COUNT I:
      Race and Gender Discrimination in Violation of Title VII of the Civil Rights Act

        51.     The paragraphs above are re-alleged and incorporated as if fully set forth herein.

        52.      As described above, Defendants discriminated against Plaintiff with respect to

the terms and conditions of her employment, including but not limited to, compensation and

selection decisions, because of her gender (female) and race (African American), in violation of

Title VII, by failing to promote her when she was the most qualified candidate.

        53.      In addition, Plaintiff has been discriminated against by her White male


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supervisors at the DEA in the form of harassment and intimidation. This has been in the form of

disparaging and abusive comments including references to her raising “racial issues” and false

accusations that Plaintiff spoke negatively about the DEA to other DOJ personnel. It has also

been in the form of constructive and unwarranted demotion and lowered performance evaluation

following her participation in the EEO process.

       54.      In June 2020, Plaintiff applied for the position of Criminal Investigator, Group

Supervisor under vacancy announcement CMB-20-218-2.

       55.      On July 14, 2020, Program Analyst Michelle Blair informed Plaintiff that she

had made the Best Qualified List and that Plaintiff needed to submit her Career Tracking System

Bio and her 8-point Bio for the vacancy. These are required steps for an applicant to be

considered for the promotion.

       56.      Consistent with DEA practice, Plaintiff provided an eight-point memorandum of

her skills set and accomplishments as part of her application packet.

       57.      Plaintiff was informed that she was not selected to the position despite qualifying

for the Best Qualified List (“BQL”). ASAC Kimbell later had a conversation with her in which

he stated that the decision not to select Plaintiff for the position was largely motivated by his

“personal preference” to not promote within the existing group. ASAC Kimbell did not address

whether or how the candidate selected for the position, a female of a different race than the

Plaintiff, surpassed the qualifications that earned Plaintiff’s placement on the BQL.

       58.      ASAC Kimbell’s explanation was nothing more than pretext for underlying and

intentional discrimination because Plaintiff is an African American female. Various officers and

agents have been promoted within the groups they were assigned previously, including SAC

Whipple. ASAC Kimbell’s decision and belief that Plaintiff was unqualified for a leadership role



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was based nothing more than on impermissible, discriminatory personal preferences and biases.

        59.      Plaintiff alleges that she was not selected for the GS-14 position because she was

a female, and/or because she was African American, and not based on her qualifications or any

other meritorious grounds.

        60.      The Agency’s conduct has been intentional, deliberate, willful, and conducted in

callous disregard of the rights of Plaintiff.

        61.      Title VII’s anti-discrimination provision makes it unlawful for an employer “to

discriminate against any individual with respect to his compensation, terms, conditions, or

privileges of employment, because of such individual’s race, color, religion, sex, or national

origin.” 42 U.S.C. § 2000e-2(a).

        62.     As a remedy, Plaintiff seeks selection to a Group Supervisor position or other GS-

14 position within the HDO to which she applied, or to one for which she is now qualified. She

seeks any pay differential, benefits, front pay, pain and suffering and emotional distress damages

up to the statutory maximum, attorneys’ fees and costs, and injunctive relief requiring the Agency

to fully comply with Title VII and not discriminate against African American females in the

selection of promotional positions. Plaintiff further seeks any remedy the Court considers

appropriate and just.

                                      COUNT II:
    Retaliation for EEO Opposition Activity as a Witness to Sexual Harassment Claims
                                  42 U.S.C. § 2000e-3

        63.      The Paragraphs above are re-alleged and incorporated as if fully set forth herein.

        64.      Title VII of the Civil Rights Act of 1964 makes it unlawful for an employer to

“discriminate against any of his employees...because [the employee] has opposed any practice

made an unlawful employment practice by this subchapter, or because [the employee] has made



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a charge, testified, assisted, or participated in any manner in an investigation, proceeding, or

hearing under this subchapter.” 42 U.S.C. § 2000e–3(a).

       65.       Plaintiff witnessed the sexual harassment of Special Agent Sears and supported

her in connection with her claims of sexual harassment.

       66.       As a witness listed in connection with SA Sears’s sexual harassment claims,

Plaintiff participated in numerous meetings and interviews related to the incident that she

witnessed.

       67.       Plaintiff reported the events that she witnessed in good faith and spoke honestly.

       68.       Shortly after, and as a consequence of, serving as a witness, Plaintiff was subject

to adverse employment actions, including non-selection despite being on the Best Qualified List

for promotion, and constructive demotion to a less prestigious role.

       69.       Prior to her participation as a witness and assistance to Sears, Plaintiff had

received no discipline.

                                      COUNT III:
        Retaliation for EEO Opposition Activity in the Filing of an EEO Complaint
                                  42 U.S.C. § 2000e-3

       70.     The paragraphs above are re-alleged and incorporated as if fully set forth herein.

       71.       Title VII of the Civil Rights Act of 1964 makes it unlawful for an employer to

“discriminate against any of his employees...because [the employee] has opposed any practice

made an unlawful employment practice by this subchapter, or because [the employee] has made

a charge, testified, assisted, or participated in any manner in an investigation, proceeding, or

hearing under this subchapter.” 42 U.S.C. § 2000e–3(a).

       72.       The Agency’s discriminatory denial of selection for promotion against Plaintiff

constitutes unlawful retaliation in violation of Title VII’s anti-retaliation provision. Further, the



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Agency’s refusal to process the claim was part of a hostile work environment designed to

discourage Plaintiff and others from pursuing protected EEO activity.

        73.      The retaliatory actions of the Defendant occurred shortly in time after the

Plaintiff participated in the EEO process, and the explanations for the personnel actions following

her participation in the EEO process reflected illegal retaliation in violation of federal civil rights

law protecting her activity.

                                          COUNT IV:
                         Title VII Claim for Hostile Work Environment

        74.      The paragraphs above are re-alleged and incorporated as if fully set forth herein.


        75.      Title VII prohibits discrimination against an employee by creating a hostile work

environment.

        76.      A hostile work environment exists “[w]hen the workplace is permeated with

‘discriminatory intimidation, ridicule and insult,’ that is ‘sufficiently severe or pervasive to alter

 the conditions of the victim’s employment and create an abusive working environment.’” Harris

 v. Forklift Systems, 510 U.S. 17, 21, 114 S.Ct. 367, 370 (1993).

        77.      As set forth above, senior management subjected Plaintiff to a hostile work

environment when they made various denigrating statements referencing the Plaintiff’s race and

gender, and repeatedly demonstrating a lack of professionalism and respect towards Plaintiff.

        78.      The DEA and its management officials further perpetuated the hostility towards

Plaintiff when they launched a baseless OPR investigation in response to Plaintiff’s EEO

complaint. This investigation was intended to intimidate, discredit, and silence the Plaintiff.

        79.      The DEA and its management officials’ unfounded and repeated hostility

towards Plaintiff was motivated by discrimination and in direct retaliation for her protected

activity.

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          80.    The DEA and its management officials’ demeaning comments towards Plaintiff

were intended to intimidate Plaintiff and were designed to make Plaintiff’s work environment

hostile and difficult.

          81.    The DEA and its management officials subjected Plaintiff to a severe and

pervasive hostile work environment that negatively and effectively changed the terms and

conditions of her employment. She was effectively unable to perform the full range of her duties

by being sidelined and denied of the equipment needed to perform her work.

          82.    The DOJ is liable to Plaintiff for the misconduct of its employees working at the

DEA.

          83.    Plaintiff has suffered damages as a result of the hostile work environment created

by management, including past and future lost wages and benefits, and the costs of bringing this

action.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests judgment as follows:

          1.    To be promoted to a GS-14 position in the HDO;

          2.    To be provided with approved time off in the number of hours required by Plaintiff

to undergo therapy and/or counseling;

          3.    To be provided with counseling paid for by the DEA;

          4.    To be awarded monetary compensation in the amount of no less than $300,000.00;

          5.    To be awarded the pre- and post-judgment interest to which she is entitled under

law.

          6.    To be awarded any back-pay, front pay, benefits re-calculations or other such

compensation as is warranted under the circumstances.



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       7.      To be awarded her reasonable attorney’s fees in bringing this action.

       8.      To conduct diversity and sensitivity training at the DEA HDO division surrounding

culture, promotion and advancement practices for all DEA management officials, including ASAC

Kimbell; and

       9.      Any additional relief this Court finds just or equitable under the circumstances.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby requests trial by jury for all claims herein.

Date: July 20, 2022
                                              Respectfully Submitted,

                                              /S/Ashok Bail_________
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